       Case 2:14-cr-00006-APG-GWF             Document 44       Filed 02/14/14      Page 1 of 4



 1
 2
 3
 4
 5                                UNITED STATES DISTRICT COURT
 6                                       DISTRICT OF NEVADA
 7
 8   UNITED STATES OF AMERICA,                 )
                                               )
 9                      Plaintiff,             )                 Case No. 2:14-cr-00006-APG-GWF
                                               )
10   vs.                                       )                 ORDER
                                               )
11   JAMES I. “ASSI” JARIV, and NATHAN “NATI” )
     STOLIAR, aka NATAN STOLIAR,               )
12                                             )
                        Defendants.            )
13   __________________________________________)
14          This matter is before the Court on Defendant James I. “Assi” Jariv’s Motion for
15   Reconsideration of Detention Order (#25), filed on January 22, 2014. After Defendant clarified
16   that his motion requests the undersigned Magistrate Judge to reconsider his detention order, and is
17   not an appeal to the District Judge from the detention order, see Docket No. 28, the Government
18   filed its Opposition to Defendant’s Motion for Reconsideration (#40) on February 5, 2014.
19   Defendant filed his Reply (#41) on February 7, 2014.
20                                 BACKGROUND AND DISCUSSION
21          Following a detention hearing on January 15, 2014, the undersigned magistrate judge
22   ordered that Defendant Jariv be detained pending trial as a substantial risk of non-appearance. See
23   Minutes of Proceedings (#21) and Detention Order Pending Trial (#32). Defendant’s Motion for
24   Reconsideration of Detention Order (#25) discusses the same evidence and recites the same
25   arguments that was presented orally during the detention hearing on January 15th. As the
26   Government states in its opposition, reconsideration of an order or judgment is generally
27   appropriate in four limited circumstances: (1) when the court is presented with newly discovered
28   evidence; (2) when the court has committed clear error or the initial decision was manifestly unjust;
       Case 2:14-cr-00006-APG-GWF               Document 44        Filed 02/14/14       Page 2 of 4



 1   (3) if there is an intervening change in the controlling law; or (4) where there are other, highly
 2   unusual circumstances warranting reconsideration. Opposition (#40), pg. 2, citing School Dist. No.
 3   1J Multnomah Cty. Or. v. ACandS, Inc., 5 F.3d 1255, 1263 (9th Cir. 1993). Motions for
 4   reconsideration are granted sparingly. Kona Enterprises, Inc. v. Estate of Bishop, 229 F.3d 877,
 5   890 (9th Cir. 2000). See also United States v. Neuman, 2013 WL 2250367, *6 (D.Or. 2013)
 6   (applying reconsideration standard in a criminal case).
 7          The only reconsideration factor arguably applicable here, is that the court committed clear
 8   error in detaining Mr. Jariv or that the detention order is manifestly unjust. The Court recognizes
 9   that reasonable arguments can be made in support of Defendant Jariv’s pre-trial release.
10   Defendant’s counsel made those arguments during the detention hearing and make them again in
11   the motion for reconsideration. The Court concluded, however, that the Defendant should be
12   detained as risk of flight, based on his substantial foreign ties which includes dual citizenship in
13   Israel (Defendant is also a U.S. citizen); his recent transfer of significant funds to Canada where he
14   also has significant business interests or connections; information that he may also have funds
15   available to him in foreign accounts should he choose to flee; Defendant’s alleged statements to
16   others regarding possible flight to avoid prosecution; the potential sentence that Defendant faces if
17   convicted on the charges in the indictment in this case, as well as in the indictment against him in
18   Southern District of Texas; and the allegation that Defendant continued to engage in criminal
19   conduct while on pretrial release in the Southern District of Texas.
20          In United States v. Motamedi, 767 F.2d 1403, 1408 (9th Cir. 1985), the court stated that the
21   factor of alienage may be taken into account, but does not point conclusively to a determination that
22   the defendant poses a serious risk of flight. As indicated above, the decision to detain Defendant is
23   not based simply on the fact that he is also a citizen of another country, Israel, or has foreign ties.
24   In United States v. Townsend, 897 F.2d 989 (9th Cir. 1990), the court upheld detention orders
25   against three foreign national defendants based on the risk of nonappearance. The defendants were
26   charged with crimes relating to the unlawful attempt to export computers to the Soviet Union. The
27   court found that the defendants had the motive to flee based on the lengthy sentences they faced if
28   convicted. In regard to the weight of the evidence, the court found that “the government’s evidence

                                                         2
       Case 2:14-cr-00006-APG-GWF              Document 44        Filed 02/14/14      Page 3 of 4



 1   was enough to put the defendants on notice that a combination of seized documents, recorded
 2   telephone conversations with their alleged co-conspirators, and the admissions of [a co-conspirator]
 3   made them subject to a trial in which they could reasonably believe they might be convicted.” Id.
 4   at 995. Townsend also stated that “[w]hen assessing an alien defendant’s ties to the United States,
 5   factors to be considered include how long the defendant has resided in this country, whether
 6   defendant has been employed in the United States, whether defendant owns any property in this
 7   country, and whether defendant has any relatives who are United States residents or citizens.” Id.
 8   The court found that the defendants’ lack of significant ties to the United States also weighed in
 9   favor of a finding that they would flee to foreign countries, rather than face prosecution in the
10   United States. In United States v. Giordano, 370 F.Supp.2d 1256, 1264 (S.D.Fla. 2005), the court
11   indicated that access to significant funds, together with evidence of strong foreign family or
12   business ties, may justify detention based on a substantial risk of nonappearance even in the face of
13   an offer of substantial bond.
14          Defendant Jariv has significant ties in the United States based on his long-standing
15   citizenship, and family members who are U.S. citizens and reside in the United States. He also has
16   business and financial interests in the United States. Those business and financial interests are,
17   however, somewhat tenuous at this point, given that the indictments charge Defendant with
18   engaging in fraudulent conduct in his business activities, and have resulted in the initial seizure of
19   significant assets. The Court, therefore, concluded that Defendant’s family and business ties in
20   Nevada and in the United States are not a sufficient restraint on Defendant’s motive to flee,
21   particularly in view of the information that he has the financial means to accomplish such flight and
22   to remain outside the United States. For these reasons, the Court also concluded that there are no
23   conditions of pre-trial release that could reasonably deter or prevent Defendant from fleeing the
24   United States if he chooses to do so.
25                                              CONCLUSION
26          The Court’s previous detention order is neither clearly erroneous nor manifestly unjust.
27   Defendant therefore has not presented sufficient grounds to justify this Court in reconsidering or
28   reversing its detention order. Accordingly,

                                                        3
       Case 2:14-cr-00006-APG-GWF         Document 44    Filed 02/14/14   Page 4 of 4



 1          IT IS HEREBY ORDERED that Defendant’s Motion for Reconsideration of Detention
 2   Order (#25) is denied.
 3          DATED this 14th day of February, 2014.
 4
 5                                            ______________________________________
                                              GEORGE FOLEY, JR.
 6                                            United States Magistrate Judge
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                     4
